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6                              IN THE UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8    UNITED STATES OF AMERICA,                     )     Case №: 1:20-MJ-00138-7-SKO
                                                   )
9                     Plaintiff,                   )                    ORDER
                                                   )               APPOINTING COUNSEL
10            vs.                                  )
                                                   )
11   JAMES COX,                                    )
                                                   )
12                    Defendant.                   )
                                                   )
13
              The above named Defendant has, under oath, sworn or affirmed as to his financial
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15   inability to employ counsel or has otherwise satisfied this Court that he is financially unable to

16   obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of

17   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
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              IT IS HEREBY ORDERED that Douglas C. Foster be appointed to represent the above
19
     defendant in this case effective nunc pro tunc to December 4, 2020.
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              This appointment shall remain in effect until further order of this court.
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     IT IS SO ORDERED.
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     Dated:     December 8, 2020                                    /s/   Sheila K. Oberto            .
                                                         UNITED STATES MAGISTRATE JUDGE
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